                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN



UNITED STATES OF AMERICA,

       Plaintiff,

     v.                                                 Case No. 17-CR-167

RASHAWN T. BUMPUS,

      Defendant.


                          REPORT AND RECOMMENDATION


       The United States of America and the defendant, Rashawn T. Bumpus, appeared

before me pursuant to Federal Rule of Criminal Procedure 11. Bumpus entered a plea of

guilty to Count One of the Indictment.

       After cautioning and examining Bumpus under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary, and

that the offense charged is supported by an independent factual basis containing each of the

essential elements of the offense.

       NOW, THEREFORE, IT IS RECOMMENDED that Bumpus’ plea of guilty be

accepted; that a presentence investigation and report be prepared; and that Bumpus be

adjudicated guilty and have sentence imposed accordingly.

       Your attention is directed to General L.R. 72(c), 28 U.S.C. § 636(b)(1)(B) and

Federal Rules of Criminal Procedure 59(b), or Federal Rules of Civil Procedure 72(b) if

applicable, whereby written objections to any recommendation or order herein, or part

thereof, may be filed within fourteen days of the date of service of this recommendation or



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order. Objections are to be filed in accordance with the Eastern District of Wisconsin’s

electronic case filing procedures. Courtesy paper copies of any objections shall be sent

directly to the chambers of the district judge assigned to the case. Failure to file a timely

objection with the district court shall result in a waiver of a party’s right to appeal. If no

response or reply will be filed, please notify the Court in writing.



               Dated at Milwaukee, Wisconsin this 3rd day of January, 2018.



                                                    BY THE COURT

                                                    s/Nancy Joseph_____________
                                                    NANCY JOSEPH
                                                    United States Magistrate Judge




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